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                             UNITED STATES DISTRICT COURT
 6
                                      DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,
 9
            Plaintiff,                                 Case No. 2:09-CR-00477-KJD-RJJ
10
     v.                                                ORDER
11
     GAIL BILYEU,
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            Defendant.
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14
            Before the Court is Defendant’s Motion to Continue Sentencing (#60), filed November 30,
15
     2010, in which Defendant seeks to continue sentencing in this matter for 45 days in order to
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     accommodate Defense counsel’s schedule and allow counsel time to prepare. The Government filed
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     an Opposition (#62) on December 10, 2010, to which Defendant filed a Reply (#63) the same day.
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     Good cause appearing, IT IS HEREBY ORDERED that Defendant’s Motion to Continue
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     Sentencing (#60) is GRANTED. IT IS FURTHER ORDERED that sentencing in this matter is
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     continued until February 2, 2011, at 9:00 am.
21
            DATED this 10th day of December 2010.
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25                                                Kent J. Dawson
                                                  United States District Judge
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